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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

LISA KWESELL; CHRISTINE                       :       CASE NO: 3:19-cv-01098 (KAD)
TURECEK; AND JASON SCHWARTZ,                  :
individually and on behalf all others         :
similarly situated,                           :
                                              :
               Plaintiffs,                    :
                                              :
v.                                            :
                                              :
YALE UNIVERSITY,                              :
                                              :
               Defendant.                     :       November 22, 2021


                                   JOINT STATUS REPORT

       On September 23, 2021, the Court issued an Order directing the parties to either file a

Motion for Preliminary Approval of their settlement agreement or notify the Court that

additional time is necessary to complete the agreement and motion. The parties have been

diligently working to finalize the agreement but require additional time to do so. They

respectfully request sixty (60) additional days to finalize the agreement and for the Plaintiffs to

submit a Motion for Preliminary Approval.

                                                      RESPECTFULLY SUBMITTED,

                                                      THE DEFENDANT

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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on the above-stated date, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the Court’s electronic filing system and

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                      /s/ Dara S. Smith
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